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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION


UNITED STATE OF AMERICA
                                              CASE No.: 5:21-CR-009
V.

NERY RENE CARRILLO-NAJARRO


                 GOVERNMENT’S REPLY TO DEFENDANT’S
                    OBJECTION TO MOTION (DOC. 98)

      As provided in the Government’s Motion (Doc. 98), the authority to maintain

custody of the lawfully restrained assets fall within two statutory frameworks, (1) 18

U.S.C. § 983, and (2) 21 U.S.C. § 853.

      In the matter at hand, Defendant Nery Rene Carrillo-Najarro (hereinafter, the

“Defendant”) has objected to the Government’s motion, and requested relief with

regard to the following assets:

      •   1997 Mercedes E300D, VIN WDBJF20F8VA365187,

      •   Acer laptop, and

      •   iPhone 11 Promax,

(Collectively, the “Subject Property”).

      The Subject Property was seized on or about November 17, 2021, by agents

from the Department of Homeland Security – Homeland Secretary Investigations,

the U.S. Department of State - Diplomatic Security Service, with support from

various other state and local law enforcement agencies. The restraint of the Subject




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Property was duly authorized by issuance of a federal search and seizure warrant

signed by a Magistrate Judge in the Southern District of Georgia.

      In addition to their evidentiary value, the requisite nexus exists between the

charged offenses and the Subject Property and sufficiently establish the forfeitability

of the assets. Nevertheless, the Government has decided to decline the forfeiture of

one of the three listed assets. More specifically, the Government formally declined

the forfeiture of the 1997 Mercedes E300D, VIN WDBJF20F8VA365187.                  The

decision to forego forfeiture of this asset was based solely on the fact that it did not

meet the Department of Justice’s Net Equity threshold set forth in the Asset

Forfeiture Manual at Chapter 1, Section D.1.

      The Government contends that the remaining two assets, (1) the Acer Laptop

and (2) the iPhone 11 Promax (Collectively, the “Subject Property”) are subject to

forfeiture pursuant to 21 U.S.C. § 853. In addition to the potential for forfeiture,

there is an evidentiary value, and the Subject Property has not yet been imaged, thus

the Government is continuing to make determinations of its intent to pursue

forfeiture while also weighing the evidentiary value of the Subject Property to the

criminal case.

      In support of that effort, the Government made the appropriate filings. More

specifically, the Government filed a Bill of Particulars (Doc. 89), pursuant to the

Federal Rules of Criminal Procedure Rule 32.2 and filed a motion for a ‘housekeeping’

order pursuant to 18 U.S.C. § 983(a)(3)(B)(ii)(II) (Doc. 98).




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         Wherefore, based reasons set forth above the Government requests that this

Court grant the Government’s motion (Doc. 98), and permit the United States to

maintain custody of the Subject Property through the conclusion of the pending

criminal case, including any ancillary forfeiture proceedings, and find that the United

States     has   satisfied   the   custody-preservation   requirement      of   18   U.S.C.

§ 983(a)(3)(B)(ii)(II).

         Respectfully submitted this 7th day January 2022.



                                          DAVID H. ESTES
                                          UNITED STATES ATTORNEY

                                           /s/ Xavier A. Cunningham
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.

       The 7th day January 2022.



                                          /s/ Xavier A. Cunningham

                                         Xavier A. Cunningham
                                         Assistant United States Attorney




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